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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
                       Plaintiff,              )
                                               )
        v.                                     )      Cause No. 1:12-cr-0133-SEB-TAB-24
                                               )
 GREGORY HART,                                 )
                                               )
                       Defendant.              )



                            REPORT AND RECOMMENDATION

        On February 6, 2015, the Court held a hearing on the Petition for Warrant or Summons

 for Offender Under Supervision filed on January 13, 2015. Defendant Hart appeared in person

 with his appointed counsel, Mike Donahoe. The government appeared by Barry Glickman,

 Assistant United States Attorney. U. S. Parole and Probation appeared by Officer Shelly McKee.

        The Court conducted the following procedures in accordance with Fed. R. Crim. P.

 32.1(a)(1) and 18 U.S.C. § 3583:

        1.      The Court advised Defendant Hart of his rights and provided him with a copy of

 the petition. Defendant Hart waived his right to a preliminary hearing.

        2.      After being placed under oath, Defendant Hart admitted the violations. [Docket

 No. 1476.]

        3.      The allegations to which Defendant admitted, as fully set forth in the petition, are:
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       Violation
       Number      Nature of Noncompliance


         1         “The defendant shall refrain from excessive use of alcohol and shall not
                   purchase, possess, use distribute, or administer any controlled
                   substance or any paraphernalia related to any controlled substances,
                   except as prescribed by a physician.”

         2         “The defendant shall not frequent places where controlled substances
                   are illegally sold, used, distributed, or administered.”

         3         “The defendant shall refrain from any unlawful use of a controlled
                   substance.”

                   On November 25, 2014, the day Mr. Hart reported to the Residential Re-
                   Entry Center at Volunteers of America, he provided a urine specimen which
                   tested positive for marijuana. A subsequent drug screen collected on
                   December 1, 2014, yielded negative results.

                   As previously reported to the Court, on July 9, and August 13, 2014, Mr.
                   Hart provided urine specimens which tested positive for marijuana, which
                   he admitted using.

         4         “If this judgment imposes a fine or restitution, it is a condition of
                   probation/supervised release that the defendant pay in accordance with
                   the Schedule of Payments sheet of this judgment.”

                   Mr. Hart has failed to remit any payments toward the special assessment
                   fee. The balance remains $100.

         5         “The defendant shall participate in a substance abuse treatment
                   program at the direction of the probation officer, which may include
                   no more than eight drug tests per month. The defendant shall abstain
                   from the use of all intoxicants, including alcohol, while participating in
                   a substance abuse testing and/or treatment in accordance with his
                   ability to pay.”

                   On October 29, November 5, 12, and 16, 2014, Mr. Hart failed to report for
                   scheduled drug screens. On October 27, November 10, and 24, 2014, Mr.
                   Hart failed to attend scheduled substance abuse counseling appointments.

                   As previously reported to the Court, Mr. Hart failed to report for scheduled
                   drug screens on August 27, 30, September 6, 8, 10, 17, 22, and October 1,
                   4, 8, and 15, 2014. He has also failed to attend scheduled substance abuse
                   counseling appointments on September 8, 23, and October 13, 2014.

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             6          “The defendant shall reside for a period of 180 days months at a
                        Residential Reentry Center (RRC) as directed by the probation officer
                        and shall observe the rules of that facility.”

                        On January 11, 2015, at approximately 8:50 a.m., Mr. Hart left the
                        Residential Re-Entry Center (Volunteers of America) without permission
                        and failed to return to the facility. As such, his current whereabouts is
                        unknown.

        4.       The parties stipulated that:

                 (a)    The highest grade of violation is a Grade C violation.

                 (b)    Defendant’s criminal history category is I.

                 (c)    The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 3 to 9 months’ imprisonment.

        5.       The parties jointly recommended a sentence of six (6) months. Parties argued to

 the issue of self-surrender or immediate custody.

        The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a), and as more

 fully set forth on the record, finds that the Defendant violated the conditions in the petition, that

 his supervised release should be revoked, and that he should be sentenced to the custody of the

 Attorney General or his designee for a period of six (6) months, with no supervised release to

 follow. The Defendant is to be taken into custody immediately pending the District Judge’s

 action on this Report and Recommendation.

        The parties are hereby notified that the District Judge may reconsider any matter assigned

 to a Magistrate Judge. The parties have fourteen days after being served a copy of this Report

 and Recommendation to serve and file written objections with the District Judge.

        Dated:          2/9/2015




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